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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

EUGENIO VARGAS,                               §
                                              §
     Plaintiff/Counterclaim Defendant,        §
                                              §
v.                                            §       Civil Action No. 4:22-cv-00430-Y
                                              §
ASSOCIATION OF PROFESSIONAL                   §
FLIGHT ATTENDANTS, JULIE                      §
HEDRICK, AND ERIK HARRIS,                     §
                                              §
     Defendants/Counterclaim Plaintiffs.      §


         UNION DEFENDANTS’ REPLY1 TO “PLAINTIFF'S SECOND AMENDED
        RESPONSE[DOC. 41] TO DEFENDANTS' MOTION TO DISMISS [DOC. 24]
                      PLAINTIFF'S CLAIMS FOR RELIEF”


I.        INTRODUCTION

          A careful review of Plaintiff Vargas’s Second Amended Response (doc. 41) (“Vargas’s

2d Am. Resp”)2 to the Union Defendants’3 Motion to Dismiss (doc. 24) underscores that a single

issue of law is adversely dispositive of the entirety of Plaintiff Vargas’s (“Vargas” or “Plaintiff”)




1
  The Union Defendants previously filed a Reply (doc. 34) to Vargas’s Response (doc. 28)
and/or Amended Response (doc. 31) to the Union Defendants Motion to Dismiss. (doc. 24).
However, Vargas’s Response and Amended Response were subsequently un-filed by the Court.
(doc. 38). This Reply addresses Vargas’s Second Amended Response (docs. 41 and 42) which
the Court granted Vargas leave to late file by Order dated September 15, 2022. (doc. 40).
2
 Citations to the pages of Plaintiff Vargas’s Second Amended Response (doc. 41) will be made
by “Vargas’s 2d Am. Resp.” followed by the page number of the Second Amended Response to
which the cite refers.

3
 Defendant/Counterclaim Plaintiff Association of Professional Flight Attendants will be referred
to herein as the “APFA”; individual APFA officer Defendants Julie Hedrick and Erik Harris will
be referred to as the “APFA Officers”; and the APFA and APFA Officers collectively will be
referred to as the “Union Defendants.”

                                                  1
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claims in this case: whether judicial review of an arbitrator’s decision issued pursuant to a union

constitution -- a constitution that Plaintiff concedes is a Section 301(a) 4 “contract,” the same as

any labor/management collective bargaining agreement5 -- is subject to precisely the same

“highly deferential” standard of judicial review that governs review of any other arbitration

decision issued under a Section 301(a) “contract”6 and which indeed governs judicial review of

arbitration decisions generally; or whether, as Plaintiff argues, the arbitrator’s decision in this

case should instead be subject to judicial review pursuant to LMRDA Section 101(a)(5),7 which

governs internal, union-conducted, non-arbitral disciplinary proceedings, even though neither

the union nor its officers were even parties to the arbitration proceedings at issue in this case.8




4
    Section 301 of the Labor Management Relations Act (“LMRA”), 29 U.S.C. Section 185(a).

5
  Although Plaintiff does not dispute that the APFA Constitution is a Section 301(a) “contract,”
the same as any labor/management collective bargaining agreement, Plaintiff misunderstands the
nature of that Section 301(a) “contract” which is between “labor organizations” under Section
301(a), here the parent APFA and its local union affiliates. (so-called “Bases.”). Def. Mot. 10;
Vargas’s 2d Am. Resp. 16-17.
6
 See summary of precedent in Ball Metal Container Corp. v. United Auto Workers Local 129,
2022 U.S. App. LEXIS 33214, 2022 WL 340573 at *7-8 (5th Cir. 2022) (unpublished).
7
 Section 101(a)(5) of the Labor-Management Reporting and Disclosure Act (“LMRDA”), 29
U.S.C. § 411(a)((5).
8
 Vargas’s 2d Am. Resp. 11-12. Plaintiff repeatedly miscites LMRDA Section 102 as a
purported basis for subject matter jurisdiction in this case. Vargas’s 2d Am. Resp. 5, 11-15, 19.
Section 102 provides general subject matter jurisdiction for enforcement of all of the provisions
of LMRDA Title I, but the only substantive LMRDA provision cited by Plaintiff as specific
grounds for subject matter jurisdiction in this case is Section 101(a)(5). Vargas’s 2d Am. Resp.
11-14, 19. In other words, if Section 101(a)(5) is inapplicable here, which it is, there can be no
other jurisdiction under Section 102.


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II.      ARGUMENT

Plaintiff has not cited a single precedent from any court or administrative body or any policy

basis for holding that the same deferential standard should not govern judicial review of

arbitration decisions issued under any Section 301(a) “contract.”9 And this same deferential

standard of judicial review likewise applies, without exception, to commercial, non-labor

arbitrations beyond Section 301(a). See e.g., Lalo LLC v. Hawk Apparel, Inc., 2022 U.S. Dist.

LEXIS 72218, 2022 WL 1173801 at *5-7 (N.D. Tex. 2022) (J. Lindsay).

         If, as the Union Defendants submit, the legal standard for judicial review of any and all

labor/management arbitration decisions issued pursuant to a Section 301(a) “contract” governs

judicial review of this arbitration decision likewise issued under a Section 301(a) “contract,”

Plaintiff’s case should be dismissed in its entirety. This is so because, as Plaintiff now concedes,

Section101(a)(5) is the only subject matter jurisdiction asserted by Plaintiff as a basis for

challenging the arbitrator’s decision in this case (Complaint, pages 8-9, paragraphs 37-44;

Vargas’s 2d Am. Resp. 11-14, 19), so that Rule 12(b)(1) requires dismissal of Plaintiff’s claims

for failure to satisfy his burden of proving a valid basis for subject matter jurisdiction. Ramming

v. United States, 281 F.3d 158, 161 (5th Cir. 2001) (per curiam).

         Dismissal of Plaintiff’s attempts to vacate the arbitration decision is also warranted under

Rule 12(b)(6) because Plaintiff has never even claimed -- to the arbitrator, to this Court in his

Complaint or in his opposition to Defendant Unions’ motion to dismiss (Def. Motion 8; Vargas’s



9
  Plaintiff offers the baseless accusation, without an ounce of supporting record reference, that
Defendants “have provided misleading interpretations of the law” and “inconsistent
interpretations of Plaintiff’s claims,” Vargas’s 2d Am. Resp. 5, while ironically
mischaracterizing Defendants’ position to be that the LMRDA “provisions no longer govern any
internal union matters.” Vargas’s 2d Am. Resp. 5, 10. Of course, the LMRDA governs internal
union governance, but not external arbitration decisions.


                                                  3
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2d Am. Resp. 12) -- that the arbitrator “exceeded his jurisdiction”10 or violated the terms of the

APFA Constitution as the governing Section 301(a) “contract” in this case. As this Court has

explained:

        Judicial review of an arbitration decision arising from the terms of a CBA is narrowly
        limited, and the Court is required to afford great deference to the arbitral award. See
        Beaird Industries, Inc. v. Local 2297, 404 F.3d 942, 944 (5th Cir. 2005). [*12] The
        Supreme Court has emphasized that

                the question of interpretation of the [contract at issue] is a question for the
                arbitrator. …(S)o far as the arbitrator's decision concerns construction of the
                contract, the courts have no business overruling him because their interpretation
                of the contract is different than his.

        United Steelworkers of America v. Enterprise Wheel & Car Corp., 363 U.S. 593, 598-99,
        (1960). Of course, the arbitrator is not free to disregard the terms of the CBA and
        impose" his own brand of industrial justice." Beaird, 404 F.3d at 944. Accordingly, the
        Court will affirm an arbitral award "'as long as the arbitrator is even arguably construing
        or applying the contract and acting within the scope of his authority. . . ." Id. (quoting
        United Paperworkers Int'l Union v. Misco, Inc., 484 U.S. 29, 38 (1987)). If the
        arbitrator's decision "draw[s] its essence from the [contract] . . . the fact a court is
        convinced he committed serious error does not suffice to overturn his decision." Eastern
        Associated Coal corp. v. United Mine Workers of America, District 17, et al., 531 U.S.
        57, 62, 121 S.Ct. 462, 148 L.Ed.2d 354 (2000) (internal quotations and citations omitted).

Allied Waste Systems Inc. v. Teamsters Local 767, 2007 U.S. Dist. LEXIS 43035, 2007 WL

1703634 at *11-13, 19-21 (N.D. Tex. 2007) (J. Means) (awarding attorney fees for baseless

challenge to an arbitrator’s decision). 11



10
  While stating that arbitrators may not “exceed[] their authority,” Plaintiff never claims or
attempts to explain how or in what manner the Arbitrator allegedly exceeded his authority or
jurisdiction in this case. Vargas’s 2d Am. Resp. 12-13.
11
  While conceding that his initial assertion of subject matter jurisdiction based on the Federal
Arbitration Act (“FAA”) was mistaken (Vargas’s 2d Am. Resp. 11), Plaintiff nevertheless
proceeds to cite the FAA as the applicable standard of review. Vargas’s 2d Am. Resp. 11-12.
This is circuitous and erroneous, and futile as well. The FAA, even if applicable, would impose
the same highly deferential standard of judicial review of the arbitration decision at issue as is
applicable under Section 301(a). Lalo LLC v. Hawk Apparel, Inc., 2022 U.S. Dist. LEXIS
72218, 2022 WL 1173801 at *5-7 (N.D. Tex. 2022) (J. Lindsay).


                                                 4
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        Plaintiff’s attempts to circumvent the axiomatic deference due to arbitration decisions are

baseless, arguing -- as if it made a difference -- that the arbitration proceeding and decisions at

issue were pursuant to the APFA Constitution and not a collective bargaining agreement with an

employer, like American Airlines. Vargas’s 2d Am. Resp. 16-18. Obviously, American Airlines

was not a party to the arbitration, but neither was the APFA. Vargas’s 2d Am. Resp. 16. And

while the APFA Constitution is not a collective bargaining agreement, both are LMRA Section

301(a) “contracts” as Plaintiff concedes. Vargas’s 2d Am. Resp. 16. Nor does the deferential

standard of review due arbitration decisions “frustrate” the policies underlying the LMRDA

Section 101(a)(5); those policies are inapplicable here and apply to internal union governance

not to external and independent arbitration decisions. And, contrary to Plaintiff’s

mischaracterization of his own Complaint, there is no substantive allegation in that Complaint

that the arbitrator here has ever engaged in any “dishonesty” of the kind referenced in the

Supreme Court decision cited by Plaintiff as a basis for avoiding judicial deference to the

arbitrator’s decision. Vargas’s 2d Am. Resp. 17-18; Complaint, paras. 30-35. Major League

Baseball Players Ass’n v. Garvey 532 U.S. 504, 509 (2001).

        In other words, in the absence of subject matter jurisdiction under LMRDA Section

101(a)(5), any dispute between the parties over the arbitrability of the underlying dispute -- or

even a contention by Plaintiff that the arbitrator exceeded his jurisdiction or violated the terms of

the APFA Constitution under the highly deferential Section 301(a) standard of judicial review --

any claim by Plaintiff that the arbitration decision should be vacated must be dismissed under

both Rule 12(b)(1) and Rule 12(b)(6).12



12
   As noted, Plaintiff’s ancillary and state law claims should be dismissed under Federal Rule
12(b)(1) given the lack any supporting federal subject matter jurisdiction. Complaint, pages 9-11
at paragraphs. 45-57. As those claims are all factual and procedural claims closely related to the

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       Finally, Plaintiff’s Second Amended Response to the Union Defendants’ Motion to

Dismiss, while suggesting Plaintiff’s recognition that his original Response to Defendants’

Motion might be in need of repair, does not offer any substantive improvement to Plaintiff’s

position. It is apparently Plaintiff’s hopeful contention that the Fifth Circuit’s decision in Guidry

v. International Union of Operating Engineers, Local 406, 907 F.2d 1491(5th Cir. 1990), should

be read as holding that LMRDA Section 101(a)(5) both provides subject matter jurisdiction for

judicial review of Section 301(a) arbitration decisions and to overrule the well settled rule of law

that such arbitration decisions are not entitled to the “highly deferential” judicial review

applicable to all other arbitration decisions. Vargas’s 2d Am. Resp. 13-14, 19. Not quite.

Guidry did not involve review of any arbitration decision and merely addressed whether a




arbitration process and remedy at issue, they must also be dismissed under Rule 12(b)(6) on
Section 301(a) preemption grounds as well. Def. Motion 8-10.
Further, Plaintiff does not dispute the Union Defendants’ showing that this suit as against
individual Defendant APFA Officers Hedrick and Harris is barred by Section 301(b) of the
LMRA, 29 U.S.C. § 185(b). Def. Mot. 9, fn. 9. Atkinson v. Sinclair Reﬁning Co., 370 U.S. 238,
247-49 (1962); Complete Auto Transit, Inc. v. Reis, 451 U.S. 401, 406-07 (1981) ;Universal
Communications Corp. v. Burns, 499 F.2d 691, 693-94 (5th Cir. 1971).
Nor does Plaintiff dispute the Union Defendants’ showing that to the extent he intended to make
a claim under Section 501 of the LMRDA for breach of fiduciary duty that he failed to satisfy the
requirement of Section 501(a) that he first make a demand for remedial action by APFA before
filing suit under Section 501(b). Indeed, admitting that he did not do so because it was “moot” --
apparently abandoning any Section 501 claim -- he stated that “no claim under LMRDA § 501(a)
have [sic] been made.” Def. Motion pp. 3, 9; Vargas’s 2d Am. Resp. 20.
And, if Plaintiff only intended to assert a state law breach of fiduciary claim against the
individual APFA Officers or the APFA, such claim must be dismissed, inter alia., given the lack
any supporting federal subject matter jurisdiction. Accordingly, for these reasons alone,
individual APFA Officers Hedrick and Harris must be dismissed as parties to this action.
Moreover, Plaintiff has admittedly never even attempted to exhaust his mandatory internal union
remedies with respect to the allegations in this case. Def. Mot. 9; Vargas’s 2d Am. Resp. 19-20.
These additional grounds for dismissal should also be sustained.

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union’s breach of its duty of fair representation could be cognizable under the LMRDA,

remanding that issue to the District Court. Guidry, 907 F. 2d at 1492-93.

       It is worth reiterating here that, in contrast to internal union disciplinary proceedings

governed by Section 101(a)(5), APFA did not have any authority to initiate, was not a party to,

and did not take any position with respect to either the merits or remedy in the arbitration process

at issue in this case. Def. Motion pp. 1-3. Thus, the decision by the arbitrator in this case

cannot be said to "be (d)iscipline … done in the name of or on behalf of the union as an

organizational entity.” Breininger v. Sheet Metal Workers Int'l Ass'n Local Union No. 6, 493

U.S. 67, 97 (1987).

       As the courts have consistently ruled, even where -- as is not the case here -- the union

filed and processed a grievance in its own stead, “(a) local union's action or inaction in the

processing of a grievance is not ‘discipline’ or punishment within the meaning of the LMRDA.”

Hebert v. Gen. Truck Drivers, Chauffeurs, Warehousemen & Helpers, Local 270, 2004 U.S.

Dist. LEXIS 13406 at *12-17 (E.D. La. 2004); Camporeale v. Airborne Freight Corp., 732 F.

Supp. 358, 366 (E.D.N.Y.), aff'd without op., 923 F.2d 842 (2nd Cir. 1990). Thus, Section

101(a)(5) cannot apply here, either as a basis of subject matter jurisdiction or as a standard of

judicial review.

III.   CONCLUSION

       For all of the reasons stated above, and in the Union Defendants’ Motion to Dismiss,

Plaintiff’s claims should be dismissed in their entirety pursuant to both Federal Rules 12(b)(1)

and 12(b)(6) leaving Defendant APFA’s counterclaims, including for enforcement of the

arbitration decision pursuant to the governing deferential Section 301(a) standard of judicial

review, to be resolved by the Court.


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Date: October 5, 2022                       Respectfully Submitted,


                                              /s/ Sanford R. Denison
                                            SANFORD R. DENISON
                                            Tex. Bar No. 05655560
                                            Baab & Denison, LLP
                                            6301 Gaston Ave., Suite 550
                                            Dallas, TX 75214
                                            Tel.: (214) 637-0750
                                            Fax.: (214) 637-0730
                                            Email: denison@baabdenison.com

                                            WILLIAM W. OSBORNE JR.*
                                            D.C. Bar No. 912089
                                            Osborne Law Offices P.C.
                                            5335 Wisconsin Avenue N.W., Suite 440
                                            Washington, D.C. 20015
                                            Tel.: (202) 243-3200
                                            Fax: (202) 686-2977
                                            Email: b.osborne@osbornelaw.com

                                            Counsel for Defendant Counterclaim Plaintiff
                                            Association of Professional Flight Attendants, and
                                            Defendants Julie Hedrick and Erik Harris

                                            *Admitted Pro Hac Vice

                               CERTIFICATE OF SERVICE

       I certify that on this 5th day of October 2022 a true and correct copy of the foregoing
document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
Vargas by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

       KERRI PHILLIPS
       HEATHER ABREU
       K.D. Phillips Law Firm, PLLC
       5700 Tennyson Parkway, Suite 300
       Plano, Texas 75024
       Phone: (972) 327-5800
       Fax: (940) 400-0089
       Email: kerri@KDphillipslaw.com
       Email: Heather@KDphillipslaw.com

                                             /s/ Sanford R. Denison
                                            SANFORD R. DENISON


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